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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

JARROD JOHNSON, individually, )
and on Behalf of a Class of Persons )
Similarly Situated,                 )
                                    )
      Plaintiff,                    )
                                    )         CIVIL ACTION NUMBER
v.                                  )         No. 4:20-cv-00008-AT
                                    )
3M COMPANY, et al.,                 )
                                    )
      Defendants.                   )

 PLAINTIFF’S MEMORANDUM ON STANDING AND MOOTNESS FOR
           PLAINTIFF’S CLEAN WATER ACT CLAIMS

                         PRELIMINARY STATEMENT

        This Memorandum is submitted pursuant to the Court’s instruction for

Plaintiff and Dalton Utilities (“DU”) to address “the impact of the Court’s December

10 Order on the pending Clean Water Act claims.” Doc. 1623 at 1. In accordance

with the Court’s December 10 Order, Plaintiff’s ratepayer injury supports standing

for the declaratory judgment, civil penalties, and costs of litigation relief requested

by Plaintiff for the Clean Water Act claims in Plaintiff’s complaint. Because the

violations of the CWA by DU continue to this day, with massive amounts of PFAS

being discharged to the Conasauga River on a daily basis, the CWA claims are not

moot.



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                BACKGROUND AND STATUS OF THE CASE

      The first Amended Complaint, filed August 27, 2020, added Clean Water Act

claims against Dalton Utilities and the Dalton Whitfield Solid Waste Authority. Doc.

236. The Court denied motions to dismiss these claims in its Order dated September

20, 2021. Doc. 629. The Complaint was amended three more times to add additional

ongoing Clean Water Act violations, so that the operative Complaint is the Fourth

Amended Complaint. Doc. 716.

      That Complaint included claims against DU for (1) discharge of PFAS from

point sources to the Conasauga River without a CWA permit authorizing those

discharges and (2) discharges of non-stormwater containing PFAS to the river in

violation of the General Stormwater Permit issued by the Georgia Environmental

Protection Division (“EPD”). During discovery Plaintiff sampled the LAS and its

streams and conveyances and determined that massive amounts of PFAS are being

discharged into the Conasauga River. Although the carpet companies in Dalton aver

that they stopped using PFAS-based carpet treatments in 2019,1 PFAS from decades

of the carpet companies’ use and disposal of the chemicals remain present in the

LAS, including precursor PFAS that are continually transformed to PFOA and

PFOS. Indeed, the releases of PFAS from the LAS into the river continue unabated


1
  It is worth highlighting, however, Shaw admitted knowing in August 2022 that
some of other materials it uses to manufacture carpet contain PFAS. Doc. 1339-22
at 7.
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to this day. Furthermore, DU has not obtained an NPDES permit for its discharges,

nor has it stopped discharging non-stormwater into the river, so the CWA violations

continue.

      As the Court is aware, the City of Rome settled its parallel state court lawsuit

against DU and other defendants, which are also Defendants in Johnson, in June

2023. See Doc. 1616 at 10-13. The Rome settlement provided roughly $280 million

in funding for Rome to implement reverse osmosis (“RO”) treatment to replace its

existing, less-effective granular activated carbon (“GAC”) treatment system.

Additionally, as part of the settlement, Rome agreed to rollback its PFAS-related

water rate increases to their pre-2019 levels; the rate rollback became effective

September 1, 2023. It is undisputed that the Rome settlement did not require any

remediation or clean up of the LAS for PFAS. Furthermore, Rome’s RO treatment

has not yet been implemented, and GAC treatment currently remains in place.

      Plaintiff filed motions for summary judgment on his CWA claims against both

DU and DWSWA, and DU and DWSWA filed counter motions, all of which are

pending. On December 10, 2024, the Court held that while Plaintiff articulates a

cognizable concrete injury under Article III based on the increased water rates he

has paid as a result of Defendants’ contamination of Rome’s water supply, that injury

would not be redressed by the injunctive relief he seeks to abate the public nuisance

emanating from DU’s LAS. Doc. 1616 at 29-32. The Court further held that


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 Plaintiff’s health, property, and recreational injuries in the context of his request for

 an abatement injunction were insufficient under Article III, and, finally, that his

 “request for injunctive relief to remedy his ratepaying injury is moot” because of

 Rome’s rollback of PFAS-related rate increases. Id. at 19, 21, 25, 34-35. The

 December 10 Order granted summary judgment in Defendants’ favor on the issue of

 whether Johnson could pursue specific injunctive relief in the form of a remediation

 proposal from one of Plaintiff’s expert reports but did not address the Clean Water

 Act relief requested by Johnson. The Court stated, “[a]s the Court’s ruling is based

 on the justiciability principles of standing and mootness, Plaintiff’s request for

 injunctive relief is dismissed without prejudice.” Doc. 1616 at 40.

       If the Court permits Plaintiff’s CWA claims to go forward, Plaintiff believes

 the Court will grant summary judgment finding that DU has violated CWA effluent

 standards and limitations, as defined in 33 U.S.C. § 1365(f), and as demonstrated by

 the factual record, and issue further orders within the discretion of the Court,

 pursuant to 33 U.S.C. § 1365(a).

                                     ARGUMENT

I.     THE COURT’S DECEMBER 10 ORDER DOES NOT FORECLOSE
       THE ENFORCMENT OF THE CLEAN WATER ACT BY JOHNSON.

       The Court’s December 10 Order does not expressly address DU’s violations

 of the CWA or the relief requested by Plaintiff for those violations. Plaintiff’s Fourth

 Amended Complaint did not focus on one particular remedy for the Clean Water Act
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violations by DU or request a particular remediation dollar figure as the cost of an

enforcement order or injunction. 2 Plaintiff requested the Court to grant the following

relief against DU:

      (a) Enter a declaratory judgment that Defendant Dalton Utilities has
      violated and is in violation of the CWA, 33 U.S.C. § 1311;
      (b) Order or Enjoin Defendant Dalton Utilities to cease and abate the
      discharge of pollutants from the LAS into waters of the United States
      without an NPDES permit, including the full remediation and
      elimination of the LAS and construction of a wastewater treatment
      facility that is capable of removing all PFAS from wastewater
      discharged into the Dalton POTW prior to release into the Conasauga
      River or its tributaries;
      (c) Order or Enjoin Defendant Dalton Utilities to cease and abate the
      discharge of pollutants from its wastewater collection system into
      waters of the United States without an NPDES permit;
      (d) Enter an enforcement order or an injunction under the CWA
      ordering Defendant Dalton Utilities to fully investigate and remediate
      the PFAS contamination in and around the LAS, including in soils and
      sediments, as well as the groundwater aquifer beneath the LAS;
                           *            *           *
      (g) Order Defendants Dalton Utilities and DWSWA to pay civil
      penalties of up to fifty-five thousand eight hundred dollars ($55,800)
      per day for each day of each violation of the CWA set out in this

2
  Defendants’ arguments on standing were fixated on the report of Plaintiff’s expert
witness, Charles Andrews, Ph.D., which developed a preliminary remedy for
substantially reducing PFAS releases from the LAS that is “technically and
economically feasible” and provided an estimate of the cost of remediation of the
nearly 7,000 contaminated acres (approximately $850 million). Doc. 933-3
(Andrews Rep.) at 3, 20. Dr. Andrews included this preliminary remedy and an
estimated price tag in his report because, under Georgia nuisance law, when a case
is tried to a jury, the jury determines whether the nuisance is permanent or abatable.
State of Ga. v. City of East Ridge, Tenn., 949 F. Supp. 1571, 1583 (N.D. Ga. 1996).
Whether the nuisance is abatable determines whether injunctive relief is available.
H & L Farms LLC v. Silicon Ranch Corporation, No. 4:21-CV-134 (CDL), 2023 WL
221508, at *5 (M.D. Ga., Jan. 17, 2023). If the jury finds it is an abatable nuisance,
then the Court determines whether abatement should be ordered and in what form.
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        Complaint, pursuant to Sections 309(d) and 505(a) of the CWA, 33
        U.S.C. §§ 1319(d) and 1365(a);
        (h) Award Plaintiff his costs, including reasonable attorney and
        expert witness fees, as authorized by Section 505(d) of the CWA, 33
        U.S.C. § 1365(d);

Doc. 716 at 72-73.

        In light of the Court’s December 10 Order, as demonstrated below, Plaintiff

continues to have standing to seek at least declaratory relief, civil penalties, and his

attorney fees and other litigation costs, pursuant to Sections 309(d) and 505(a) and

(d) of the CWA, 33 U.S.C. §§ 1319(d) and 1365(a), (d); and these claims are not

moot.

A.      Johnson Has Standing to Enforce the Clean Water Act.

        The purpose of the CWA citizen suit provision is to create an avenue for

“vigorous enforcement” of the Clean Water Act if “Federal, State, and local agencies

fail to exercise their enforcement responsibility.” See S. Rep. No. 92-414, at 64

(1971) (discussing the Clean Water Act’s citizen suit provision). When the

government fails, as here, citizen suits are an important supplement to government

enforcement of the Clean Water Act, given that the government has only limited

resources to bring its own enforcement actions, permitting individual plaintiffs to

step into the government’s shoes and function as “private attorneys general”

Atlantic States Legal Foundation, Inc. v. Tyson Foods, Inc., (“Tyson Foods”), 897




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F.2d 1128, 1136 (11th Cir. 1990); see also StarLink Logistics, Inc. v. ACC, LLC, 101

F.4th 431, 447 (6th Cir. 2024).

      In the CWA citizen suit provision, Congress authorized “any citizen” to

“commence a civil action on his own behalf” and defined “citizen” as “a person or

persons having an interest which is or may be adversely affected.” 33 U.S.C. §

1365(g). It is clear from the Senate Conference Report for the 1972 amendments to

the Clean Water Act (referred to as the Federal Water Pollution Control Act at the

time) that the definition of “citizen” in the citizen suit provision was intended by

Congress to allow suits by all persons possessing standing under the Supreme

Court’s decision in Sierra Club v. Morton, 405 U.S. 727 (1972). See S. Conf. Rep.

No. 92–1236, p. 146 (1972). The Supreme Court subsequently stated that “[t]his

broad category of potential plaintiffs necessarily includes both plaintiffs seeking to

enforce these statutes as private attorneys general, whose injuries are

“noneconomic” and probably noncompensable, and persons like respondents who

assert that they have suffered tangible economic injuries because of statutory

violations.” Middlesex Cnty. Sewerage Authority v. National Sea Clammers Ass’n,

(“Sea Clammers”) 453 U.S. 1, 16–17 (1981).

      More recent standing decisions under the CWA reference the same

requirements as previously set out in Sea Clammers, and they are interpreted

broadly. A plaintiff must show (1) he has suffered an injury in fact; (2) the injury is


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fairly traceable to the challenged action of the defendant; and 3) it is likely, as

opposed to merely speculative, that the injury will be redressed by a favorable

decision. Friends of the Earth, Inc. v. Laidlaw Environmental Services (TOC), Inc.

(“Laidlaw”), 528 U.S. 167, 180–81 (2000). In its December 10 decision, dealing

with Johnson’s standing to seek the specific remediation proposal in Dr. Andrews’

expert report, the Court found that Johnson satisfied the injury in fact requirement

for only his economic injury of payment of increased rates, but that this injury would

not be redressed by the injunctive relief as framed by the Court.

   1. As the Court Has Held, Johnson Has an Injury in Fact Under Article III.

      In its December 10 Order, the Court held that Johnson’s ratepaying injury

constituted “a concrete, particularized, and actual economic injury” cognizable

under Article III. Doc. 1616 at 29. As a precise economic harm that results from

DU’s PFAS discharges in violation of the CWA, this ratepaying injury is also a

cognizable Article III injury in the context of Johnson’s CWA claims.

      This conclusion is in accordance with cases involving Article III and CWA

citizen suits that recognize similar economic harms as constituting concrete injuries

in fact. While Laidlaw is widely cited for the finding of recreational or aesthetic

injuries as injuries in fact for standing, the Court also found that property injuries

satisfy the injury in fact requirement. Id. at 182–83. (“[Plaintiff] member Gail Lee

attested that her home, which is near Laidlaw’s facility, had a lower value than


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similar homes located farther from the facility, and that she believed the pollutant

discharges accounted for some of the discrepancy.”). The Eleventh Circuit has

recognized, as have other circuits, that economic injuries confer standing under the

CWA. For instance, in Parker v. Scrap Metal Processors, Inc., (“Parker”), 386 F.3d

993, 1004 (11th Cir. 2004), the Court found that Parker demonstrated an injury-in-

fact by showing that water runoff contaminated by hazardous substances directly

entered her property. Parker was not a riparian owner of the stream into which the

water ultimately flowed and did not plead or prove an aesthetic or recreational injury,

but the Court held that “[s]uch allegations are sufficient, but not necessary, to satisfy

the injury-in-fact requirement.” Parker, 386 F.3d at 1004. By alleging that the value

of her property was diminished, at least in part due to the pollution from the polluting

facility, Mrs. Parker adequately demonstrated an injury-in-fact. Id.

      Similarly in Friends of the Earth, Inc. v. Gaston Copper Recycling Corp., 204

F.3d 149, 154-159 (4th Cir. 2000) (en banc) (diminished value of property containing

lake fed by polluted stream), cited with approval by the Eleventh Circuit in Parker,

386 F.3d at 1004, n. 11, the Fourth Circuit made it clear that economic interests are

clearly injuries in fact under the CWA, stating:

      The standing inquiry in environmental cases, for example, must reflect
      the context in which the suit is brought. In some instances,
      environmental injury can be demarcated as a traditional trespass on
      property or tortious injury to a person. In other cases, however, the
      damage is to an individual’s aesthetic or recreational interests.


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See also Severa v. Solvay Specialty Polymers USA, LLC, 524 F. Supp. 3d 381, 392

(D.N.J. 2021)3 (home water filtration expenses and other costs to obtain clean

drinking water); City of Greenville, Ill. v. Syngenta Crop Protect., Inc., 756 F. Supp.

2d 1001, 1007-08 (S.D. Ill. 2010) (increased cost of monitoring and remediating

contaminated water); Optimus Steel, LLC v. U.S. Army Corps of Engineers, 492 F.

Supp. 3d 701, 716 (E.D. Tex. 2020) (“losing the opportunity to expand and develop

[plaintiff’s] business”).

    2. Johnson’s Injury Is Fairly Traceable to DU’s CWA Violations.
      The Court’s December 10 Order found Plaintiff’s injury is traceable to

Defendants’ conduct, stating:

      Plaintiff has presented evidence that Defendants caused or contributed
      to the discharge of PFAS into the Conasauga River, from which Rome
      draws some of its water. Because its water supply contains PFAS, Rome
      must cleanse its drinking water. To do so, it installed Granular Activated
      Carbon (“GAC”) in its filter beds and raised water rates for its citizens
      to pay to subsidize these measures. The court accepts that this is a
      sufficient theory of causation, at this juncture.




3
  Severa, like this case, involved a class action by residents whose municipal water
supply was contaminated by PFAS. In addition to recognizing plaintiffs’ economic
harms as Article III injuries, the court endorsed “Plaintiffs claim that the exposure
to the PFNA [a type of PFAS] discharged into the environment by Defendants and
their consumption of water contaminated with PFNA has put Plaintiffs at significant
risk of developing medical conditions associated with exposure to PFNA.” Id.
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Doc. 1616 at 29. Although the Court did not consider DU’s CWA violations, the

Court’s conclusion that the Article III requirement of traceability is satisfied

continues to pass muster in the context of Plaintiff’s CWA claims.

      Ample evidence has been developed in this case that shows that the effluent

DU applies to the LAS via sprayheads is contaminated with PFAS; that the applied

PFAS move via overland or shallow subsurface flows to surface waters on the LAS;

that those LAS surface waters transport the PFAS to the Conasauga River (rendering

the entire LAS a point source under the CWA); that the overwhelming majority of

the PFAS found in the Oostanaula River are traceable to the LAS; that Rome was

forced to undertake measures, including GAC treatment, to remediate the resulting

high PFAS levels in the drinking water it supplies ratepayers like Johnson; and that

in order to fund the increased costs associated with these measures, Rome

implemented the rate increases incurred ratepayers like Johnson. See generally Doc.

1403-1 ¶¶ 74-86, 124-38, 405-53.

   3. Johnson’s Ratepaying Injury Is Redressable Under the CWA.

      The Court ultimately held that Johnson’s ratepaying injury would not be

redressable by the hypothetical nuisance-abatement injunction that was the focus of

Defendants’ motions. Doc. 1616 at 31-32. This determination turned on the Court’s

finding that this injury “is so clearly a monetary harm,” for which the legal remedy

of damages was more appropriate than the equitable remedy of injunctive relief. Id.


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      The Court’s holding concerning injunctive relief and redressability, however,

does not control whether any other relief requested, such as the civil penalties under

the CWA, would redress Plaintiff’s injury. It is important to note that Plaintiff cannot

recover monetary damages under the CWA. Sea Clammers, 453 U.S. at 18.

      The Supreme Court and Courts of Appeals have held that a citizen suit

plaintiff has standing, including redressability, to seek civil penalties for CWA

violations because of their deterrence effect. The Supreme Court in Laidlaw rejected

the argument that “a citizen plaintiff can never have standing to seek” civil penalties

under the CWA “because they are paid to the Government,” explaining:

      [I]t is wrong to maintain that citizen plaintiffs facing ongoing violations
      never have standing to seek civil penalties.
      We have recognized on numerous occasions that “all civil penalties
      have some deterrent effect.” Hudson v. United States, 522 U.S. 93, 102,
      118 S.Ct. 488, 139 L.Ed.2d 450 (1997) . . . . More specifically, Congress
      has found that civil penalties in Clean Water Act cases do more than
      promote immediate compliance by limiting the defendant’s economic
      incentive to delay its attainment of permit limits; they also deter future
      violations. This congressional determination warrants judicial attention
      and respect. . .

      It can scarcely be doubted that, for a plaintiff who is injured or faces
      the threat of future injury due to illegal conduct ongoing at the time of
      suit, a sanction that effectively abates that conduct and prevents its
      recurrence provides a form of redress. Civil penalties can fit that
      description. To the extent that they encourage defendants to discontinue
      current violations and deter them from committing future ones, they
      afford redress to citizen plaintiffs who are injured or threatened with
      injury as a consequence of ongoing unlawful conduct.

528 U.S. at 185-86.

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      Similarly, in a case involving ongoing NPDES permit violations, the Third

Circuit articulated the principle that “[w]here Congress has expressly granted a right

of action and plaintiff have shown ‘a distinct and palpable injury,’ plaintiffs ‘may

invoke the general public interest in support of their claim.’” Public Interest Res.

Grp. of N.J. v. Powell Duffryn Terminals, Inc., 913 F.2d 64, 73 (3d Cir. 1990)

(quoting Warth v. Seldin, 422 U.S. 490, 501 (1975)). It held:

      The general public interest in clean waterways will be served in this
      case by the deterrent effect of an award of civil penalties. Penalties will
      deter both [defendant] specifically and other NPDES permit holders
      generally. Thus, [plaintiff’s] members’ injuries may be redressed by a
      favorable decision in this case.

Id. This invocation of the general public interest as well as the deterrence rationale

present in both Laidlaw and Public Interest Research Group are consistent with the

notion that citizen suit plaintiffs fulfill the role of a private attorney general by

enforcing federal environmental law. See Tyson Foods, 897 F.2d at 1136. See also

Sierra Club v. Simkins Industries, Inc., 847 F.2d 1109, 1113 (4th Cir. 1988) (“The

judicial relief of civil penalties, even if payable only to the United States Department

of the Treasury, is causally connected to a citizen-plaintiff’s injury. Such penalties

can be an important deterrence against future violations.”).

      As the Court’s December 10 Order recognizes, the general public interest in

deterring DU’s discharges of PFAS near the headwaters of the Coosa River system

is robust: “The harm wrought on communities downstream of Dalton, Georgia . . .


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resulting from years of PFAS proliferation is incalculable.” Doc. 1616 at 38. Unlike

in Laidlaw, where the facility at issue “was permanently closed” and “all discharges

from the facility [had] permanently ceased,” 528 U.S. at 179, the discharges of PFAS

from DU’s LAS are continually occurring every single day—and will continue,

absent enforcement, for the foreseeable future. The need and capacity for deterrence

is therefore starkly apparent. As Laidlaw instructs, civil penalties can provide that

deterrence and in so doing, redress Plaintiff’s ratepaying injury.

      Furthermore, as Public Interest Research Group holds, civil penalties not only

deter the immediate wrongdoer; they also can deter “other NPDES permit holders

generally.” Public Interest Research Group, 913 F.2d at 73. Thus, civil penalties in

this case would also address the other sources of PFAS to the rivers upstream from

Rome that the Court observed in its Order. See Doc. 1616 at 30-31.

      The same analysis applies to the declaratory judgment requested by Plaintiff

that DU has violated and is in violation of the CWA, 33 U.S.C. § 1311. Doc. 716 at

72. Winyah Rivers Alliance v. Active Energy Renewable Power, LLC, (“Wynah

Rivers”) 579 F.Supp.3d 759, 766–67 (E.D.N.C. 2022) (plaintiff has shown

redressability for declaratory relief, “because a declaratory judgment would settle

the propriety of defendants’ alleged unlawful discharges that contribute to plaintiff’s

members’ injuries.”)




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      Finally, Plaintiff’s Complaint also requests an award of costs of litigation,

including reasonable attorney and expert witness fees, pursuant to 33 U.S.C. §

1365(d). Because the award of litigation costs turns on whether Plaintiff is the

“substantially prevailing party” on the merits of the case, 33 U.S.C. § 1365(d), no

independent Article III analysis of his entitlement to this specific recovery is

required. See Laidlaw, 528 U.S. at 194-96 (addressing citizen-suit plaintiffs’

entitlement to attorney fees separately from its standing and mootness analyses).

B.    Johnson’s Clean Water Act Claims are Not Moot.

      The Court’s December 10 Order addressed mootness only in the context of

whether there is any irreparable ratepayer injury to Johnson personally left to warrant

the imposition of the hypothetical $850 million injunction after Defendants’

settlements with Rome. See Doc. 1616 at 33-38. However, even if Johnson’s ongoing

injury cannot support this injunctive relief, this does not moot his claims against DU

under the CWA.

      The Supreme Court has made it clear that a claim for CWA violations is not

moot unless the defendant demonstrates that it is “absolutely clear that the allegedly

wrongful behavior could not reasonably be expected to recur.” Gwaltney of

Smithfield, Ltd. v. Chesapeake Bay Foundation, Inc., 484 U.S. 49, 66–67 (1987);

Laidlaw, 528 U.S. at 171 (“Both Laidlaw’s permit compliance and the facility

closure might moot this case, but only if one or the other event made it absolutely


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clear that violations could not reasonably be expected to recur.”). The Court

elaborated:

      A defendant’s voluntary cessation of a challenged practice ordinarily
      does not deprive a federal court of its power to determine the legality
      of the practice. If it did, courts would be compelled to leave the
      defendant free to return to its old ways. Thus, the standard for
      determining whether a case has been mooted by the defendant's
      voluntary conduct is stringent: A case might become moot if subsequent
      events make it absolutely clear that the allegedly wrongful behavior
      could not reasonably be expected to recur.

Laidlaw, 528 U.S. at 169–70.

      The CWA violations complained of in Johnson’s three Amended Complaints

are continuing unabated daily and will do so for the foreseeable future unless some

action is taken by DU and other responsible parties. There is no indication from EPD

records that DU has applied for or received an NPDES permit authorizing these

discharges. The Conasauga and Oostanaula Rivers continue to receive large amounts

of PFAS from the LAS, impairing the use of the waterways for drinking water and

other beneficial uses. The Defendants’ settlements with the City of Rome for the

construction of a new drinking water treatment plant, while beneficial to Rome water

users, have done nothing to remedy these CWA violations.

      Even if injunctive relief is not available to Johnson, the CWA claims are not

moot where the violations continue. The Court can still impose civil penalties, as

discussed above, which can deter future violations. For instance, in Laidlaw the

defendant argued that because the district court had denied injunctive relief, and that
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denial was not appealed, plaintiff’s claim for civil penalties was moot. The Supreme

Court found that the denial of injunctive relief does not necessarily mean that the

district court has concluded there is no prospect of future violations for civil penalties

to deter and upheld the district court’s assessment of civil penalties after finding that

a citizen suit plaintiff has standing to seek civil penalties because of their deterrent

effect. Laidlaw, 528 U.S. at 193.

      The Eleventh Circuit has explained the rationale for the continued viability of

claims for civil penalties after a case becomes moot:

      Specifically, we find that for purposes of assessing a plaintiff’s
      allegations of ongoing violations, the court must always look to the date
      the complaint was filed. If on and after that date, the defendants
      continued to violate their NPDES permit, then the plaintiffs may
      request both injunctive relief and civil penalties…If, after the complaint
      is filed, the defendant comes into compliance with the Act, then
      traditional principles of mootness will prevent maintenance of the suit
      for injunctive relief as long as there is no reasonable likelihood that the
      wrongful behavior will recur. However, the mooting of injunctive relief
      will not moot the request for civil penalties as long as such penalties
      were rightfully sought at the time the suit was filed.

Tyson Foods, 897 F.2d at 1134–35. In the instant case, DU was violating the CWA

when Johnson filed his first Amended Complaint (adding DU to the case), which

sought both injunctive relief and the imposition of civil penalties. Civil penalties

attach at the time of the violations, which continue, and the request for civil penalties

cannot be mooted by the denial or mooting of injunctive relief.




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      The continued viability of civil penalties in this case is even stronger because

DU did not moot injunctive relief by coming into compliance with the CWA. Instead,

the Court found that Defendants’ settlements with Rome deprived Johnson of

irreparable harm to support injunctive relief because his future water rate increases

are speculative.

                                  CONCLUSION

      The Court can still grant meaningful relief under the Clean Water Act in this

case to address “the real harms posed by the discharge of PFAS by the Dalton carpet

industry” without offending the jurisdictional requirements of standing. Doc. 1616

at 39. In the face of government inaction, Plaintiff has been the only one to shoulder

the burden of enforcing the CWA at the LAS. Johnson has standing to pursue a

declaratory judgement and civil penalties for their deterrent effect, and, once he is a

prevailing party, he should be able to pursue reimbursement of his costs of litigation.

His CWA claims, furthermore, are not moot because the CWA violations continue

today and will continue for the foreseeable future.

      Respectfully submitted this 21st day of February, 2025.




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is prepared in Times New

Roman 14-point font, as mandated in Local Rule 5.1.C.

This 21st day of February, 2025.

                                              /s/ Gary A. Davis


                         CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing has been filed

electronically with the Clerk of the Court by using the CM/ECF system which will

automatically email all counsel of record.

This 21st day of February, 2025.

                                              /s/ Gary A. Davis




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